              Case 2:18-cv-00055-TSZ Document 274 Filed 02/23/21 Page 1 of 3




 1                                                                                    Judge Thomas S. Zilly
                                                                                       Trial Date: 04-19-21
 2

 3

 4

 5

 6          IN THE U.S. DISTRICT COURT FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
       BAO XUYEN LE, as Personal
 8     Representative of the Estate of Tommy Le;
       HOAI “SUNNY” LE; and DIEU HO,                      NO. 2:18-cv-00055-TSZ
 9
                                  Plaintiffs,             STIPULATED MOTION & ORDER
10     v.                                                 TO MODIFY SCHEDULING ORDER
                                                          TO ALLOW FOR THE TAKING OF
11     REVEREND DR. MARTIN LUTHER                         THE DEPOSITION OF RICARDO
       KING, JR. COUNTY; and KING                         FUENTES AFTER THE DISCOVERY
12     COUNTY DEPUTY SHERIFF CESAR                        COMPLETION DATE
       MOLINA,
13
                                  Defendants.
14

15                                              STIPULATION

16           The parties to this action through their attorneys of record ask the Court to confirm and order

17   the following stipulation:

18           1.     Pursuant to the September 21, 2020 scheduling order, the discovery completion deadline

19   for this matter was February 1, 2021.

20           2.     Defendant King County supplemented its discovery responses, on February 18, 2021,

21   with newly discovered evidence, namely the “Office of Law Enforcement Oversight, King County

22   Sheriff’s Department, Officer-Involved Shooting Incident, January 14, 2017”, (KCSO Summary).

23           3.     The KCSO Summary was authored by Ricardo Fuentes, a former representative of the

     Office of Law Enforcement Oversight (OLEO).
      STIP. MOT. & ORDER TO                                        CAMPICHE ARNOLD, PLLC
      MODIFY SCH. ORDER - 1                                       111 Queen Anne Avenue N., Suite 510
      NO. 2:cv-18-00055-TSZ                                               Seattle, WA 98109
                                                                         TEL: (206) 281-9000
                                                                         FAX: (206) 281-9111
              Case 2:18-cv-00055-TSZ Document 274 Filed 02/23/21 Page 2 of 3




 1          4.      Recognizing that the KCSO Summary is newly discovered evidence produced by

 2   Defendant King County after the discovery completion date and reserving to the Plaintiffs the future

 3   right to seek relief from the Court based on this newly discovered evidence and Defendant King

 4   County’s post-discovery cut off supplement to discovery, the parties have agreed to modify the existing

 5   scheduling order to allow for the taking of the Deposition of Ricardo Fuentes.

 6

 7          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 8

 9   For the Plaintiffs                                  For Defendant King County

10    s/ Philip G. Arnold                                s/ for Daniel L. Kinerk w Permission
      Philip G. Arnold, WSBA No. 2675                    Daniel L. Kinerk, WSBA No. 13537
11    Jeffery M. Campiche, WSBA No. 7592                 Carla Carlstrom, WSBA No. 27521
      Jeffrey J. Kratz, WSBA No. 55785                   Senior Deputy Prosecuting Attorneys
12    Attorneys for the Plaintiffs                       Attorneys for Defendant King County
      CAMPICHE ARNOLD PLLC                               King County Prosecuting Attorney’s Office,
13    Attorneys for Plaintiffs Le family                 Civil Division
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      For Defendant Deputy Cesar Molina
19
      s/ for Timothy R. Gosselin w/ permission
20    Timothy R. Gosselin, WSBA No. 13730
      Attorney for Defendant Molina
21    1901 Jefferson Ave., Suite 304
      Tacoma, WA 98402
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 1                                                ORDER

 2           Pursuant to stipulation between Plaintiffs and Defendants King County and Deputy Molina, it
     is so ordered.
 3

 4          DATED this 23rd day of February, 2021.

 5

 6                                                      A
                                                ___________________________________
 7                                              Thomas S. Zilly
                                                United States District Judge
 8

 9

10   Presented by:
     s/ Philip G. Arnold
11   Philip G. Arnold, WSBA No. 2675
     Attorneys for the Plaintiffs
12   CAMPICHE ARNOLD PLLC
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